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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )           CASE NO. 8:04CR432
                                              )
      vs.                                     )
                                              )                    ORDER
LAWRENCE A. PETERSON,                         )
                                              )
                    Defendant.                )



      This matter is before the Court on the Unopposed Motion for Continuance of

Sentencing Schedule filed by the Defendant, Lawrence A. Peterson (Filing No. 89).

      For good cause shown, the Motion shall be granted.

      IT IS ORDERED:

      1.     The Unopposed Motion for Continuance of Sentencing Schedule filed by

             the Defendant, Lawrence A. Peterson (Filing No. 89) is granted;

      2.     Sentencing is rescheduled before District Judge Laurie Smith Camp on

             the 6th day of June, 2005, at the hour of 3:30 p.m. in Courtroom No. 2,

             Third Floor, Roman L. Hruska Courthouse, 111 S. 18 th Plaza, Omaha,

             Nebraska.

      Dated this 20th day of May, 2005.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge
